       Case 1:21-cv-00100-EGS Document 57-1 Filed 02/05/21 Page 1 of 38



                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA

                                                             )
NANCY GIMENA HUISHA-HUISHA, et al.,                          )
                                                             )
Plaintiffs,                                                  )
                                                             )
v.                                                           ) No. 21-cv-00100-EGS
                                                             )
ALEJANDRO MAYORKAS*, Secretary of                            )
Homeland Security, in his official capacity, et al.,         )
                                                             )
Defendants.                                                  )
                                                             )

     MEMORANDUM IN SUPPORT OF PLAINTIFFS’ MOTION FOR CLASSWIDE
                     PRELIMINARY INJUNCTION

              *Automatically substituted pursuant to Federal Rule of Civil Procedure 25(d).
           Case 1:21-cv-00100-EGS Document 57-1 Filed 02/05/21 Page 2 of 38




                                                   TABLE OF CONTENTS

TABLE OF AUTHORITIES .......................................................................................................... ii

INTRODUCTION .......................................................................................................................... 1

BACKGROUND ............................................................................................................................ 2

         A. The Immigration Laws’ Protections for Asylum Seekers ............................................... 2

         B. Immigration Laws’ Treatment of Communicable Diseases ............................................ 4

         C. The Title 42 Process ........................................................................................................ 5

         D. The Proposed Class ......................................................................................................... 8

LEGAL STANDARD ..................................................................................................................... 9

ARGUMENT .................................................................................................................................. 9

    I. THE PROPOSED CLASS IS LIKELY TO SUCCEED ON THE MERITS. ........................ 9

         A. Title 42 Does Not Authorize Deportation ..................................................................... 10

             1. The text, context, and structure of § 265 demonstrate that it does not
                authorize deportations. .............................................................................................. 10

             2. Section 265 was designed to regulate transportation ................................................. 13

         B. Plaintiffs’ Expulsion Also Violates The Specific Protections Established By
            Congress For Noncitizens Seeking Humanitarian Protections. ..................................... 19

    II. SUBJECTING IMMIGRANT FAMILIES TO THE TITLE 42 PROCESS HAS
        CAUSED AND WILL CONTINUE TO CAUSE THEM IRREPARABLE HARM. ........ 23

    III. THE BALANCE OF HARMS AND THE PUBLIC INTEREST BOTH WEIGH
         DECIDEDLY IN FAVOR OF INJUNCTIVE RELIEF FOR CLASS MEMBERS.......... 26

CONCLUSION ............................................................................................................................. 29




                                                                      i
           Case 1:21-cv-00100-EGS Document 57-1 Filed 02/05/21 Page 3 of 38




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Air All. Houston v. EPA,
  906 F.3d 1049 (D.C. Cir. 2018) ................................................................................................ 22

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  425 U.S. 820 (1976) .................................................................................................................. 22

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  543 U.S. 371 (2005) .................................................................................................................. 12

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  313 F. Supp. 3d 317 (D.D.C. 2018) ............................................................................................ 9

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  Dock Co.,
  514 U.S. 122 (1995) .................................................................................................................. 19

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  138 S. Ct. 1612 (2018) ........................................................................................................ 22, 23

FDA v. Brown & Williamson Tobacco Corp.,
  529 U.S. 120 (2000) .................................................................................................................. 22

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  149 U.S. 698 (1893) .................................................................................................................. 11

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  211 F.3d 638 (D.C. Cir. 2000) .................................................................................................. 22

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  141 S. Ct. 617 (2020) .................................................................................................................. 3

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  526 U.S. 415 (1999) .................................................................................................................... 3



                                                                     ii
           Case 1:21-cv-00100-EGS Document 57-1 Filed 02/05/21 Page 4 of 38



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  480 U.S. 421 (1987) .................................................................................................................... 3

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   No. 20-CV-01509-CJN, 2020 WL 6041870 (D.D.C. June 26, 2020) .............................. 1, 2, 26

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  925 F.3d 1291 (D.C. Cir. 2019) .................................................................................................. 9

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 962 F.3d 531 (D.C. Cir. 2020) ............................................................................................ 14, 18

Nasrallah v. Barr,
  140 S. Ct. 1683 (2020) .............................................................................................................. 15

Negusie v. Holder,
  555 U.S. 511 (2009) .............................................................................................................. 4, 20

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  556 U.S. 418 (2009) .............................................................................................................. 9, 29

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  685 F. Supp. 1488 (C.D. Cal. 1988) ......................................................................................... 26

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  No. 20-5357 (D.C. Cir. Jan. 29, 2021)...................................................................................... 29

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  __ F. Supp. 3d. ___, No. 20-CV-02245-EGS, 2020 WL 6770508 (D.D.C. Nov. 18, 2020)
  ............................................................................................................................................ passim
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  559 U.S. 356 (2010) .................................................................................................................. 11

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___ F. Supp. 3d._____, No. 20-CV-9253-JD, 2021 WL 75756 (N.D. Cal. Jan. 8, 2021) ............ 11

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  627 F.3d 891 (D.C. Cir. 2010) .................................................................................................... 9

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  573 U.S. 302 (2014) ............................................................................................................ 10, 11

                                                                        iii
           Case 1:21-cv-00100-EGS Document 57-1 Filed 02/05/21 Page 5 of 38



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  299 U.S. 5 (1936) ...................................................................................................................... 11

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  138 S. Ct. 2067 (2018) .............................................................................................................. 12

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8 U.S.C. § 1222(b) .......................................................................................................................... 5

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8 U.S.C. § 1225(b)(1)(B) .............................................................................................................. 20

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                                                                      iv
           Case 1:21-cv-00100-EGS Document 57-1 Filed 02/05/21 Page 6 of 38



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Act of March 3, 1891, ch. 551 ............................................................................................ 4, 12, 15

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                                                                       v
           Case 1:21-cv-00100-EGS Document 57-1 Filed 02/05/21 Page 7 of 38



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                                                                     vi
            Case 1:21-cv-00100-EGS Document 57-1 Filed 02/05/21 Page 8 of 38



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                                                                          vii
        Case 1:21-cv-00100-EGS Document 57-1 Filed 02/05/21 Page 9 of 38




                                        INTRODUCTION

       Plaintiffs are asylum-seeking families who fled to the United States and were apprehended

by U.S. Customs and Border Protection (“CBP”).             Under longstanding safeguards in the

immigration statutes, they are entitled to seek humanitarian protection pursuant to specific

procedures enshrined by Congress in recognition of the life-and-death stakes that are involved, as

well as our international commitments. Instead, Defendants moved to summarily deport them

based on an unprecedented and unlawful expulsion process, invoking the public health powers of

the Centers for Disease Control and Prevention (“CDC”), specifically 42 U.S.C. § 265 (the “Title

42 Process”). Under this system, Plaintiffs—children and their parents fleeing for their lives—

face expulsion without any hearing, even where, as here, they have tested negative for COVID-

19, completed quarantine, or displayed no symptoms of COVID-19.

       The Title 42 Process was previously preliminarily enjoined as to a certified class of

unaccompanied children. See P.J.E.S. v. Wolf, __ F. Supp. 3d. ___, No. 20-CV-02245-EGS, 2020

WL 6770508, at *1 (D.D.C. Nov. 18, 2020) (Sullivan, J., adopting report and recommendation of

Harvey, J.); see also J.B.B.C. v. Wolf, No. 20-CV-01509-CJN, 2020 WL 6041870 (D.D.C. June

26, 2020) (Nichols, J.). In P.J.E.S., this Court held that Title 42 does not permit expulsions and

that even if it did authorize some deportations, it would not override the specific asylum protections

for applicable to vulnerable noncitizens seeking protection from persecution and torture. 2020

WL 6770508 at *8-13, 27-32. 1 The merits analysis in P.J.E.S. applies here with equal force: In

both cases Defendants are relying on § 265 of the public health laws and in both cases the statutory

provisions protecting asylum-seekers apply. Insofar as there are any difference on the merits

between the two cases, it is that in P.J.E.S. there was a separate basis to find the Title 42 Process


1
  Plaintiff cites to the version of Magistrate Judge Harvey’s report and recommendation in P.J.E.S.
that is attached to this Court's preliminary injunction opinion in that case.

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       Case 1:21-cv-00100-EGS Document 57-1 Filed 02/05/21 Page 10 of 38




unlawful on the ground that it violated a statute that applies only to unaccompanied children. But

that statute was only an additional reason why the Court in P.J.E.S. held that § 265 does not

authorize expulsions. 2

       The remaining equitable factors also strongly favor a preliminary injunction here. As the

declarations of Plaintiffs and proposed class members describe, these families are fleeing

dangerous and difficult circumstances in their origin countries, including grave threats and

persecution. Some family members have suffered physical violence at the hands of their

persecutors. Many of these families include very small children, who are at particular risk of

danger upon return. And as Plaintiffs’ experts describe, there is no public health justification for

barring these families from entering the United States, while keeping the borders open to

transport drivers and tens of thousands of others who cross the southwest border every day.

       The new Administration has not rescinded this unlawful backdoor immigration policy,

meaning that vulnerable families are still being denied access to the asylum system that Congress

so carefully enshrined. Because numerous families continue to face summary deportations,

Plaintiffs respectfully move this Court, in conjunction with their previously filed motion for class

certification, for a preliminary injunction barring the expulsion of families under the Title 42

Process.

                                        BACKGROUND

    A. The Immigration Laws’ Protections for Asylum Seekers

       As this Court explained in P.J.E.S., Congress has prescribed longstanding protections for

noncitizens seeking protection from persecution and torture. See 2020 WL 6770508, at *2. First,


2
  While that injunction was stayed by the D.C. Circuit, this Court has already recognized, in its
Minute Order dated February 1, 2021, that the D.C. Circuit’s unreasoned and non-precedential
order does nothing to undermine the merits analysis of P.J.E.S. (or the decision by Judge Nichols
in J.B.B.C.).

                                                 2
       Case 1:21-cv-00100-EGS Document 57-1 Filed 02/05/21 Page 11 of 38




the asylum statute, 8 U.S.C. § 1158, provides that any noncitizen arriving in the United States has

a right to apply for asylum, regardless of the applicant’s status. See P.J.E.S., 2020 WL 6770508,

at *2; 8 U.S.C. § 1158(a)(1) (“[a]ny alien who is physically present in the United States or who

arrives in the United States (whether or not at a designated port of arrival . . .), irrespective of such

alien’s status, may apply for asylum”). The asylum statute provides a narrow list of bars to asylum,

none of which apply here. See P.J.E.S., 2020 WL 6770508, at *30; see also 8 U.S.C. § 1158.

        Second, the withholding of removal statute, 8 U.S.C. § 1231(b)(3), provides that

noncitizens “may not” be removed to a country where their “life or freedom” would be threatened

based on a protected ground. P.J.E.S., 2020 WL 6770508, at *2. A grant of withholding is

mandatory if the individual meets the statutory criteria. INS v. Aguirre-Aguirre, 526 U.S. 415, 420

(1999). Congress enacted this statute to “conform[] it to the language of Article 33 [of the 1951

U.N. Convention of Refugees],” INS v. Stevic, 467 U.S. 407, 421 (1984), in several respects,

including by making withholding “mandatory” where the eligibility criteria are satisfied, INS v.

Cardoza-Fonseca, 480 U.S. 421, 440 n.25 (1987), and by giving it broad application where the

government seeks to return a noncitizen to a country where he fears persecution, see Innovation

Law Lab v. Wolf, 951 F.3d 1073, 1089 (9th Cir. 2020), cert. granted, 141 S. Ct. 617 (2020).

Congress again outlined specific and narrow bars to withholding of removal; none apply here. 3

See 8 U.S.C. § 1231(b)(3)(B).



3
 DHS and DOJ recently issued a final rule purporting to establish bars to eligibility for asylum
and withholding of removal based on health considerations. Security Bars and Processing, 85
Fed. Reg. 84160-01 (Dec. 23, 2020). That rule is unlawful, but in any event the agencies have
delayed its effective date, and it is currently unclear whether it will ever go into effect. See Security
Bars and Processing; Delay of Effective Date, 86 Fed. Reg. 6847-01 (Jan. 25, 2021). Indeed, the
new bar “relies upon the framework for applying bars to asylum during credible fear processing”
promulgated in a separate rule, which has since been enjoined. Id. at 6847; see Pangea Legal
Servs. v. U.S. Dep’t of Homeland Sec., ___ F.Supp.3d._____, No. 20-CV-9253-JD, 2021 WL
75756, at *1 (N.D. Cal. Jan. 8, 2021) (preliminarily enjoining that separate rule).

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       Case 1:21-cv-00100-EGS Document 57-1 Filed 02/05/21 Page 12 of 38




       Third, protections under Convention Against Torture (“CAT”) prohibit returning a

noncitizen to a country where it is more likely than not that he would face torture. P.J.E.S., 2020

WL 6770508, at *2. Article 3 of CAT provides that “[n]o State Party shall expel, return (‘refouler’)

or extradite a person to another State where there are substantial grounds for believing that he

would be in danger of being subjected to torture.” Convention Against Torture and Other Cruel,

Inhuman or Degrading Treatment or Punishment art. 3, Dec. 10, 1984, S. Treaty Doc. No. 100-20,

at 20 (1988). Congress subsequently implemented Article 3 of CAT. See Foreign Affairs Reform

and Restructuring Act of 1998 (“FARRA”) § 2242(a), Pub. L. No. 105-207, Div. G. Title XXI,

112 Stat. 2681 (codified at 8 U.S.C. § 1231 note); 8 C.F.R. § 1208.16-.18 (implementing

regulations). There are no bars to eligibility for CAT protection. See, e.g., Negusie v. Holder, 555

U.S. 511, 514 (2009).

   B. Immigration Laws’ Treatment of Communicable Diseases

       Congress has specially addressed communicable diseases in the immigration laws and “has

made clear when public health concerns merit disallowing a non-citizen to remain in the United

States.” P.J.E.S., 2020 WL 6770508, at *29. From the earliest days of immigration regulation,

Congress has explicitly authorized the deportation of individuals based on public health concerns.

See Act of Mar. 3, 1891, ch. 551, 26 Stat. 1084, 1085. Similar statutes exist today. There are

several “[h]ealth-related grounds” of inadmissibility that authorize the deportation of noncitizens

based on specified public health concerns, 8 U.S.C. § 1182(a)(1), including if a noncitizen is

determined to have “a communicable disease of public health significance,” id. § 1182(a)(1)(i).

Immigration statutes also provide for medical examination and detention as part of immigration

processing. See id. § 1222(a) (authorizing detention of arriving noncitizens who might have a

communicable disease or are “coming from a country or have embarked at a place where any of



                                                 4
       Case 1:21-cv-00100-EGS Document 57-1 Filed 02/05/21 Page 13 of 38




such diseases are prevalent or epidemic,” but only “for a sufficient time to . . . subject [them] to

observation and an examination”); id. § 1222(b) (authorizing physical and mental examination of

arriving noncitizens). But, critically, these statutes do not permit summary deportation without a

screening for persecution or torture. See also P.J.E.S., 2020 WL 6770508, at *29 n.13 (“[W]hile

quarantined, the immigration process can go forward, including medical examination under 8

U.S.C. § 1222(a) . . . and application of 8 U.S.C § 1182(a)(1)(i).”).

    C. The Title 42 Process

       Announced by former President Trump on March 20, 2020, the Title 42 Process is a new

immigration system purportedly established under the government’s public health powers codified

in Title 42 of the U.S. Code. The CDC, in a series of agency documents, has invoked 42 U.S.C. §

265 to bar and expel noncitizens who arrive at the border or enter the country without documents. 4

P.J.E.S 2020 WL 6770508, at *3 (describing establishment of Title 42 Process).

       Section 265 of Title 42 was first enacted in 1893 and was later reenacted without material

change in the Public Health Service Act of 1944. Act of February 15, 1893, § 7, ch. 114, 27 Stat.



4
  See Control of Communicable Diseases; Foreign Quarantine: Suspension of Introduction of
Persons Into United States From Designated Foreign Countries or Places for Public Health
Purposes, 85 Fed. Reg. 16,559 (Mar. 24, 2020) (interim final rule) (effective date Mar. 20, 2020);
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2020); Order Suspending the Right To Introduce Certain Persons From Countries Where a
Quarantinable Communicable Disease Exists, 85 Fed. Reg. 65,806 (Oct. 16, 2020) (effective date
Oct. 13, 2020); U.S. Customs and Border Protection and U.S. Border Patrol, “Operation Capio”
Memo (“CBP Memo”), Cheung Decl., Ex. E.


                                                 5
       Case 1:21-cv-00100-EGS Document 57-1 Filed 02/05/21 Page 14 of 38




449, 452; Public Health Service Act, Pub. L. 78-410, § 362, 58 Stat. 682, 704 (1944). It provides

in relevant part that the Surgeon General may “prohibit . . . the introduction of persons or property”

from designated places where “by reason of the existence of any communicable disease in a foreign

country there is serious danger of the introduction of such disease into the United States.” 42

U.S.C. § 265. 5 The penalties for violating § 265 include “a fine of not more than $1,000 or . . .

imprisonment for not more than one year, or both.” Id. § 271(a). Deportation is not an available

penalty. See id.

       Shortly after former President Trump’s announcement, the CDC published an interim final

rule providing that the CDC may prohibit the “introduction into the United States of persons” from

foreign countries. 85 Fed. Reg. 16,559, 16,563; see 42 C.F.R. § 71.40(a). Pursuant to this new

regulation, the CDC issued an Order to forcibly return asylum seekers back to the country from

which they entered, their home country, or another location. See 85 Fed. Reg. 17,060, 17,067.

The initial March 20 Order, which was set to expire in 30 days, was extended for an additional 30

days on April 20, 85 Fed. Reg. 22,424, and then extended indefinitely on May 20, 85 Fed. Reg.

31,503. Effective October 13, 2020, CDC replaced the interim final rule with a materially identical

final rule (following a brief notice-and-comment period), and reissued the indefinite CDC Order

under this final regulation. See 85 Fed. Reg. 56,424 (Final Rule); 85 Fed. Reg. 65,806 (CDC

Order); P.J.E.S., 2020 WL 6770508, at *4 (“The Final Rule . . . makes no changes to its

determinations and findings as relevant for this action.”).

       On April 2, 2020, CBP issued a memorandum describing the agency’s implementation of

the Title 42 Process, an effort it calls “Operation Capio.” See CBP Memo at 2; P.J.E.S., 2020 WL

6770508, at *4. The CBP Memo makes clear that the only humanitarian protection provided under


5
 This authority of the Surgeon General has been transferred to HHS and delegated to the CDC.
See 85 Fed. Reg. 16,559, 16,560 n.1 (explaining reorganizations and transfers of authority).

                                                  6
        Case 1:21-cv-00100-EGS Document 57-1 Filed 02/05/21 Page 15 of 38




the Title 42 Process is limited to an inadequate CAT screening, and the Process does not include

screenings for persecution under the asylum and withholding statutes. CBP Memo at 4. The CAT

screenings, moreover, are not conducted by immigration judges, and even these limited CAT

screenings are not uniformly undertaken, and when they are, they lack the most rudimentary

procedural safeguards. See Declaration of Javier Hidalgo (“Hidalgo Decl.”), ¶ 7; see also ECF

Nos. 43-2 ¶ 7, 47-2, ¶ 7, 47-5, ¶ 7; ECF No. 5-2, ¶ 12.

            Multiple news reports have indicated that Trump Administration officials—more

interested in immigration restrictions than public health—forced the Title 42 Process onto CDC,

over the objection of the agency’s expert scientists. See, e.g., Pence Ordered Borders Closed After

CDC Experts Refused, AP News (Oct. 3, 2020), https://apnews.com/article/virus-outbreak-

pandemics-public-health-new-york-health-4ef0c6c5263815a26f8aa17f6ea490ae; CDC Officials

Objected to Order Turning Away Migrants at Border, The Wall Street Journal (Oct. 3, 2020),

https://www.wsj.com/articles/cdc-officials-objected-to-order-turning-away-migrants-at-border-

11601733601;           Inside        the   Fall    of   the       CDC,      ProPublica   (Oct.    15,   2020),

https://www.propublica.org/article/inside-the-fall-of-the-cdc; How Trump officials used COVID-

19     to     shut     U.S.     borders     to    migrant       children,   CBS   News    (Nov.    2,   2020),

https://www.cbsnews.com/news/trump-administration-closed-borders-migrant-children-covid-

19/.

            On February 2, 2021, the Biden Administration directed CDC to review the Title 42

Process, but did not rescind or pause its application to families like Plaintiffs. See Exec. Order on

Creating a Comprehensive Regional Framework to Address the Causes of Migration, Sec.

4(a)(ii)(A)          (Feb.      2,     2021),      https://www.whitehouse.gov/briefing-room/presidential-

actions/2021/02/02/executive-order-on-creating-a-comprehensive-regional-framework-to-



                                                            7
       Case 1:21-cv-00100-EGS Document 57-1 Filed 02/05/21 Page 16 of 38




address-the-causes-of-migration-to-manage-migration-throughout-north-and-central-america-

and-to-provide-safe-and-orderly-processing/. No timetable was placed on that review, and the

Biden administration has continued to expel families under Title 42 in the interim, see ECF No.

33 (reporting expulsions of two families), except where Plaintiffs have managed to file a stay

motion in time with this Court.

   D. The Proposed Class

       Plaintiffs have sought class certification, see ECF No. 23, and now seek a preliminary

injunction on behalf of a proposed class of immigrant families subjected to the unlawful Title 42

Process, defined as:

       All noncitizens who (1) are or will be in the United States; (2) come to the United
       States as a family unit composed of at least one child under 18 years old and that
       child’s parent or legal guardian; and (3) are or will be subjected to the Title 42
       Process (“Proposed Class Members”).

See ECF No. 23-1 (Plaintiffs’ Memorandum in Support of Class Certification).

       All Plaintiff families are fleeing dire situations in their home countries, including threats

of severe persecution, torture, or death. If expelled, they and their children—some of whom are

infants or toddlers—would be returned to danger. See ECF Nos. 17, 24, 27 (sealed declarations

of Plaintiffs and proposed Class Members).

       As Plaintiffs’ Motion to Certify Class explains, over 20,000 members of families have been

subjected to Title 42 expulsion since the policy’s inception. See ECF No. 23-1 at 4. But, as

Plaintiffs’ declarations describe, the government detains and tests at least some family members

for COVID-19 before expelling them. Hidalgo Decl., ¶ 4; Declaration of Allison Herre (“Herre

Decl.”), ¶¶ 12-14; Meza Decl., ECF No. 5-2, ¶ 9. Many of those families test negative, and many

families are sometimes kept detained for weeks, giving them sufficient time to complete quarantine

before expulsion. See Hidalgo Decl., ¶¶ 6, 8; see also ECF Nos. 17, 24, 27.


                                                8
       Case 1:21-cv-00100-EGS Document 57-1 Filed 02/05/21 Page 17 of 38




                                       LEGAL STANDARD

       On a motion for a preliminary injunction, a court must consider “whether (1) the plaintiff

has a substantial likelihood of success on the merits; (2) the plaintiff would suffer irreparable injury

were an injunction not granted; (3) an injunction would substantially injure other interested parties;

and (4) the grant of an injunction would further the public interest.” Sottera, Inc. v. FDA, 627 F.3d

891, 893 (D.C. Cir. 2010) (internal quotation marks and citation omitted). The first two prongs of

the inquiry (likelihood of success and irreparable harm) are the “most critical.” Nken v. Holder,

556 U.S. 418, 434 (2009). Where, as here, a plaintiff seeks preliminary relief on behalf of a

proposed class, the Court may grant provisional certification of the class and issue classwide relief.

See P.J.E.S., 2020 WL 6770508, at *7; Damus v. Nielsen, 313 F. Supp. 3d 317, 328-35 (D.D.C.

2018) (provisionally certifying class of detained asylum seekers for purpose of granting

preliminary injunction); see also J.D. v. Azar, 925 F.3d 1291, 1305-06 (D.C. Cir. 2019) (observing

that district court had resolved pending motions for class certification and classwide preliminary

injunction in tandem).

                                            ARGUMENT

I.     THE PROPOSED CLASS IS LIKELY TO SUCCEED ON THE MERITS.

       Plaintiffs are likely to succeed on the merits of their challenge to the government’s novel

efforts to deport them under the supposed authority of 42 U.S.C. § 265. As the Court held in

P.J.E.S., § 265 does not authorize deportation at all. 2020 WL 6770508 at *8-13. But even if such

deportations were otherwise permitted, Plaintiffs are entitled to statutory procedures and

humanitarian protections, including the right to seek asylum. Those specific, later-enacted statutes

must be applied here, regardless of what § 265 may authorize in general. That is precisely what




                                                   9
       Case 1:21-cv-00100-EGS Document 57-1 Filed 02/05/21 Page 18 of 38




all three Judges in this District to consider the question have concluded, underscoring that Plaintiffs

have a strong likelihood of success.

    A. Title 42 Does Not Authorize Deportation.

        The CDC’s Order was issued under the purported authority of 42 U.S.C. § 265, a provision

that has laid dormant in the U.S. Code for over a hundred years. Defendants claim to have

discovered in this statute a source of unlimited authority to execute summary deportations as they

see fit, without regard for the carefully crafted policy judgments of the Nation’s immigration laws.

But when an agency claims to discover “an unheralded power” lying dormant “in a long-extant

statute,” courts “typically greet its announcement with a measure of skepticism.” Util. Air Reg.

Group v. EPA, 573 U.S. 302, 324 (2014). And, indeed, this novel, sweeping assertion of Executive

dominance in the realm of immigration exceeds the power granted by § 265. Nothing in § 265, or

Title 42 more generally, purports to authorize any deportations, much less deportations in violation

of the specific protections described below.

                 1. The text, context, and structure of § 265 demonstrate that it does not
                    authorize deportations.

        Section 265 authorizes the CDC to prohibit the “introduction of persons” under certain

circumstances. It says nothing about any power to physically remove people from the United

States. Nor does a neighboring provision laying out the “penalties” for violation of “any regulation

prescribed” under § 265 make any mention of such deportation or expulsion authority. See 42

U.S.C. § 271. Instead, § 271 provides for fines and imprisonment of individuals for violation of

public health regulations. The newly asserted power to deport, in the name of public health and

independent of Congress’s carefully reticulated immigration scheme, is “nowhere mentioned in

the statute,” which contains “not a word” about any expulsion power. P.J.E.S., 2020 WL 6770508,

at *9, 11, 29.


                                                  10
       Case 1:21-cv-00100-EGS Document 57-1 Filed 02/05/21 Page 19 of 38




       That silence speaks volumes. The Supreme Court has “long recognized that deportation is

a particularly severe ‘penalty.’” Padilla v. Kentucky, 559 U.S. 356, 365 (2010) (quoting Fong Yue

Ting v. United States, 149 U.S. 698, 740 (1893)). Thus, the extreme exercise of governmental

power involved in physically removing a person from the country is one that must be granted by

Congress, as “the Constitution creates no executive prerogative to dispose of the liberty of the

individual.” Valentine v. U.S. ex rel. Neidecker, 299 U.S. 5, 9 (1936) (holding that extradition

power “does not exist save as it is given by act of Congress” or treaty).

       “[W]hen Congress wants to grant the power to expel individuals out of the United States,

it does so plainly.” P.J.E.S., 2020 WL 6770508, at *9 (internal quotation marks omitted). Such

powers of physical removal from the country—whether called deportation, removal, extradition,

or expulsion—“in order to exist must be affirmatively granted” by Congress. Valentine, 299 U.S.

at 12 (emphasis added) (rejecting argument that power to extradite U.S. citizens could be implied

from provision stating that United States was not bound to extradite them). Accordingly, where

Congress seeks to authorize that extraordinary physical control, it does so in explicit terms.

P.J.E.S., 2020 WL 6770508, at *29; see, e.g., 8 U.S.C. § 1231 (immigration removals); id.

§ 1225(b)(2)(c) (“may return the alien” to contiguous country); 18 U.S.C. §§ 3185, 3186, 3196

(extradition authority). Courts do not—and, given the gravity of the asserted power, must not—

lightly read an expulsion power into statutes that do not explicitly grant it. Valentine, 299 U.S. at

12; cf. Util. Air Regulatory Grp., 573 U.S. at 324 (“We expect Congress to speak clearly if it

wishes to assign to an agency decisions of vast economic and political significance.”) (internal

quotation marks omitted). Nowhere in Title 42 has Congress granted that power.

       That is not to say that Congress has ignored public health considerations in crafting

immigration policy. See P.J.E.S., 2020 WL 6770508, at *11, 29. To the contrary, from the earliest



                                                 11
       Case 1:21-cv-00100-EGS Document 57-1 Filed 02/05/21 Page 20 of 38




days of immigration regulation—predating the 1893 enactment of the predecessor to § 265—

Congress has explicitly authorized the deportation of individuals based on public health concerns.

See Act of Mar. 3, 1891, ch. 551, 26 Stat. 1084, 1085. And similar statutes exist today. See 8

U.S.C. § 1182(a)(1) (“[h]ealth-related grounds” of inadmissibility, including communicable

diseases); 8 U.S.C. § 1222 (medical detention and examination as part of immigration processing).

Because courts “presume differences in language like this convey differences in meaning[,]”

particularly where contemporaneous statutes address related issues, Congress’s decision to grant

deportation power in the immigration statutes but not in Title 42 is conclusive. See Wisc. Cent.

Ltd. v. United States, 138 S. Ct. 2067, 2071-72 (2018) (internal quotation marks omitted).

       Critically, § 265, the provision on which Defendants rely for this asserted new power, could

not be read to authorize expulsions because that section applies without differentiation to citizens

and noncitizens alike. The government has previously conceded that, if it is correct that § 265

authorizes expulsions, it would therefore mean that Congress gave the executive branch the power

to expel citizens as well as noncitizens. P.J.E.S., 2020 WL 6770508, at *30 (“the power the

government claims under Section 265 is breathtakingly broad” and the government “admitted

before Judge Nichols that the section authorizes the government to expel even U.S. citizens”). It

is inconceivable that Congress would seek to give the executive branch that plainly

unconstitutional power. See Clark v. Martinez, 543 U.S. 371, 386 (2005) (rejecting “the dangerous

principle that judges can give the same statutory text different meanings in different cases” even

if only some applications raise constitutional concerns).

       Had Congress sought to authorize the mass deportations, which are now underway, on

health-related grounds it would have needed to clearly say so. It has not, and these expulsions are

thus unlawful for the same reasons as in P.J.E.S..



                                                12
       Case 1:21-cv-00100-EGS Document 57-1 Filed 02/05/21 Page 21 of 38




                2. Section 265 was designed to regulate transportation.

        Section 265 also does not authorize expulsions because it applies only to the regulation of

transportation entities, and does not apply to individuals at all. In P.J.E.S., the Court did not reach

this alternative ground for holding that § 265 does not authorize expulsions, and the Court need

not do so here either. See 2020 WL 6770508, at *9 (rejecting government objections to Report

and Recommendation without reaching alternative ground); id. at 27 n.8. Plaintiffs nonetheless

set forth the argument in the event the Court chooses to reach it here. See also Historians’ Amicus

Brief (setting forth the history of § 265 and explaining why it applies only to transportation entities,

and not individuals).

        The omission of expulsion authority from § 265 was no mistake in light of its historical

purpose. To the contrary, it reflects Congress’s design of that statute—as a means to stop travel

from countries experiencing an outbreak of disease by regulating the transportation companies

that bring people to the United States. Section 7 of the Act of February 15, 1893, ch. 114, 27 Stat.

449, 452, which became § 265 without material change in the Public Health Service Act, Pub. L.

78-410, § 362, 58 Stat. 682, 704 (1944), was designed to regulate transportation entities that

brought persons and goods to the United States, and it imposed fines and imprisonment on such

transportation entities if they violated a public health order. See also Cheung Decl., Ex. A (copy

of 1893 Act). If an individual’s entry or presence was unlawful, the immigration system provided

the sole mechanism for returning the individual to his home country. Past practice bears out this

design: When § 265 was used in 1929 to combat meningitis, another deadly disease transmitted

by asymptomatic carriers via airborne respiratory droplets, deportation was not authorized. It

therefore makes sense that § 265 does not silently authorize a whole new deportation process,

devoid of the procedural protections Congress created for noncitizens, including for those with



                                                  13
       Case 1:21-cv-00100-EGS Document 57-1 Filed 02/05/21 Page 22 of 38




communicable diseases. Defendants cannot now create such an unauthorized system out of whole

cloth. See Merck & Co. v. U.S. Dep’t of Health & Human Servs., 962 F.3d 531, 536 (D.C. Cir.

2020) (agencies are “bound” by Congress’s choice of “means”).

       a. The text of the 1893 provision demonstrates that the “means” Congress chose was the

regulation of transportation, not of individual travelers, and underscores that Congress never

authorized expulsions. Section 7 of the 1893 Act granted the “power to prohibit, in whole or in

part, the introduction of persons and property” into the country. 27 Stat. 452 (emphasis added).

That term—“introduction”—meant then, as now, “‘the act of bringing into a country.’” Introduce,

Universal English Dictionary 1067 (John Craig ed. 1861); see also Introduce, Webster’s

Collegiate Dictionary 453 (1st ed. 1898) (“[t]o lead, bring, or usher in”). As a matter of ordinary

language and usage, introducing a person into a country or place is an action taken by a third

party—here, the shipping company. See, e.g., Walsh v. Preston, 109 U.S. 297, 298, 314, 315

(1883) (“colonization” contract requiring party to “introduce” immigrant families into Texas was

unsatisfied, where there was no evidence individuals who came “were brought to Texas by [the

party];” rather, “they came and settled of their own accord”).

       b. The statutory context reinforces the plain text. The 1893 Act was shot through with

provisions specifically directed at the regulation of ships. See, e.g., Act of Feb. 15, 1893, ch. 114,

§ 1 (unlawful for ships to enter U.S. ports from abroad except in accordance with public health

regulations); § 2 (requiring ships abroad to obtain a bill of health); § 3 (authorizing regulation of

“vessels sail[ing] from any foreign port or place”); §§ 4, 5, 6 (similar).

       Critically, the 1893 Act imposed penalties only against ships—and set them high enough

to deter those vessels from sailing to this country in violation of the Act. See id. § 1 ($5,000 fine

for “vessel” violating the Act); id. § 2 (same for “vessel” entering United States without bill of



                                                 14
       Case 1:21-cv-00100-EGS Document 57-1 Filed 02/05/21 Page 23 of 38




health); see also id. § 3 (conditioning penalties on “any vessel or owner or officer thereof” on

posting of regulations in consular offices abroad); 24 Cong. Rec. 378 (raising penalties).

       Furthermore, an examination of immigration statutes in force in 1893 makes plain that

Congress knew exactly how to provide for the removal of individuals. Those statutes covered

those coming by ship and individually by land, and explicitly authorized deportations, separate and

apart from regulations they imposed on ships involved in transporting immigrants. See, e.g.,

Chinese Exclusion Act of May 6, 1882, ch. 126, §§ 2, 12, 22 Stat. 58, 59, 61 (establishing penalties

for vessels, and separately providing for unauthorized immigrants “to be removed . . . to the

country whence [they] came”); Act of Mar. 3, 1891, ch. 551, §§ 10, 11, 26 Stat. 1084, 1086

(establishing penalties for “master, agent, consignee, or owner of” a “vessel” who violates the

Act’s provisions, and separately providing for unauthorized immigrants to “be immediately sent

back on the vessel by which they were brought in” and that “any alien who shall come into the

United States in violation of law may be returned”); id. § 8 (providing “the Secretary of the

Treasury may prescribe rules for inspection along the borders of Canada, British Columbia, and

Mexico”); Act of Mar. 3, 1903, ch. 1012, §§ 8, 9, 19, 20, 21, 32 Stat. 1213, 1215-16, 1218-19,

1221 (providing for noncitizens to “be immediately sent back . . . on the vessels bringing them,”

“deported,” or “taken into custody and returned to the country whence he came”).

       It would have been “easy enough for Congress” to include the same kind of provisions in

the 1893 Act. Nasrallah v. Barr, 140 S. Ct. 1683, 1692 (2020). Instead, Congress imposed

penalties only on those involved in transportation, and used the term “introduction” to refer to the

penalty-triggering conduct of such third parties. But Congress said nothing about any power to

deport individuals who came to our shores. The government nevertheless now seeks to read into




                                                15
       Case 1:21-cv-00100-EGS Document 57-1 Filed 02/05/21 Page 24 of 38




the statute’s silence an implicit power to expel; but “it is not the proper role of the courts to rewrite

[a law] passed by Congress and signed by the President.” Id.

        c. The legislative history of the 1893 Act further confirms what is demonstrated by the

text, context, and structure: Section 7 was a regulation of transportation entities.

        The 1893 Act responded to a specific public health threat—a cholera epidemic in Europe.

See, e.g., 24 Cong. Rec. 359 (1893) (letter from physician explaining the danger of an imminent

cholera outbreak from Europe). A principal proponent of the 1893 Act, Senator Chandler,

explained that “90 or 95 percent of the immigration into the United States comes into the city of

New York, and that the most danger of cholera is to be apprehended from vessels arriving at that

port.” Id. at 360. He expressed confidence that controlling travel by ship would effectively protect

the country. Id. at 363 (“there will be no great danger of the introduction of cholera this year

unless it comes in the steerages,” a class of ship travel).

         As one of the 1893 Act’s sponsors, Senator Harris, further explained, Section 7 therefore

allowed the President “to prevent the coming at all” of “vessels, passengers, crews, and cargo,

which are sailing to this country.” Id. at 392. Congress expected that an invocation of Section 7

would cause shipping companies to refuse boarding, halting travel from designated locations at

the source, thereby addressing the public health risk.

        Indeed, when Senator Harris was asked about individuals crossing at land borders, he

explained that an earlier law providing general authority to quarantine and inspect individuals—

not the new 1893 legislation—“clothes the Marine Hospital Service with ample power to protect

the Mexican and Canadian borders.” Id. at 370. The new authority to regulate transportation

entities was simply part of the larger framework already in place that included not just the

immigration laws but also the public health quarantine powers.



                                                   16
       Case 1:21-cv-00100-EGS Document 57-1 Filed 02/05/21 Page 25 of 38




       d. The use of the statute since its enactment in 1893 reinforces the absence of any

deportation power. To Plaintiffs’ knowledge, the only time the statute has been invoked to prohibit

the introduction of persons was in 1929, and it did not authorize deportations. 6 President Hoover,

invoking Section 7 of the 1893 Act to address a meningitis outbreak, issued an Executive Order

entitled: “Restricting for the time being the transportation of passengers from certain ports in the

Orient to a United States port.” Exec. Order No. 5143 (June 21, 1929), Cheung Decl., Ex. B

(emphasis added). The Treasury Department also issued associated regulations “governing the

embarkation of passengers and crew” at ports in those countries “and their transportation to United

States ports.” 7 The regulations further addressed how to handle vessels which arrived in the United

States when a meningitis case had occurred during the voyage, but, notably, only authorized

detention, quarantine, and testing—not deportation.

       e. Finally, any suggestion that the correct interpretation of § 265 renders that statute

ineffective would be seriously mistaken. Congress vested the government with a significant power

totally separate from any need to deport individuals from the country: shutting down all

international transportation from a particular country by regulating those who made such travel



6
  Most invocations of § 265 have involved regulation of goods or delegation of authority to
particular officers or agencies. In addition to the 1929 use of § 265, the provision has been
invoked, with additional statutory authorities, four other times to address persons. None of the
four purported to authorize deportations. One addressed the Do Not Board list, a mechanism to
control transportation access and the Public Health Lookout, a means to refer individuals at ports
to CDC for isolation. Criteria for Requesting Federal Travel Restrictions for Public Health
Purposes, 80 Fed. Reg. 16,400 (Mar. 27, 2015). Another proposed, but unadopted, regulation
repeated the language of § 265 without elaboration. Control of Communicable Diseases, 70 Fed.
Reg. 71,891, 71,910 (Nov. 30, 2005). The two others addressed quarantine and information
gathering. Control of Communicable Diseases, 81 Fed. Reg. 54230 (Aug. 15, 2016); Control of
Communicable Diseases; Foreign Quarantine, 85 Fed. Reg. 7874 (Feb. 12, 2020).
7
  Regulations Governing the Embarkation of Passengers and Crew at Ports in China and the
Philippine Islands and Their Transportation to the United States Ports Prescribed in Accordance
with Executive Order Approved June 21, 1929, Cheung Decl., Ex. C.


                                                17
       Case 1:21-cv-00100-EGS Document 57-1 Filed 02/05/21 Page 26 of 38




possible, the transportation companies. And, despite the age of the statute, that tool remains

powerful today: § 265 permits the government to halt the vast majority of international travel by

barring ships, planes, trains, and other modes of transportation from bringing people to this country

from designated places.

       The efficacy of that approach was clear from the beginning. The statute was passed against

the backdrop of an extraordinary Executive action taken just months before, in September 1892.

See U.S. Dep’t of Treasury, Quarantine Restrictions Upon Immigration to Aid in the Prevention

of the Introduction of Cholera into the United States (Sept. 1, 1892), Cheung Decl., Ex. D. The

Surgeon General explained that “vessels conveying” immigrants from certain countries

experiencing cholera outbreaks were a “direct menace to the public health,” and ordered that “no

vessel from any foreign port carrying immigrants shall be admitted” to any U.S. port “until said

vessel shall have undergone” 20 days of quarantine. Id. Contemporaneous media coverage

explained this step would “practically put a stop to immigration, for no steamship company will

continue to transport people to this country” given the costs of quarantine.           Twenty Days

Quarantine, N.Y. Times (Sept. 2, 1892). 8 The crisis triggered significant debate among the

Cabinet as to the President’s authority to take such a drastic step without clear statutory authority.

See id. Shortly afterward, Congress enacted the 1893 Act granting the authority to regulate vessels

to prevent the spread of disease.

       Thus, while Congress’s goal was to keep out disease, the means it authorized was

regulation of transportation entities, not the deportation of individuals outside of the extensive

immigration system Congress has enacted and refined over the decades. Merck, 962 F.3d at 536



8
  https://www.nytimes.com/1892/09/02/archives/twenty-days-quarantine-the-government-takes-
decisive-action-a.html


                                                 18
       Case 1:21-cv-00100-EGS Document 57-1 Filed 02/05/21 Page 27 of 38




(“[A]gencies are bound, not only by the ultimate purposes Congress has selected, but by the means

it has deemed appropriate, and prescribed, for the pursuit of those purposes.”) (internal quotation

marks omitted). “The withholding of agency authority is as significant as the granting of it, and

we have no right to play favorites between the two.” Dir., Office of Workers’ Comp. Programs,

Dep’t of Labor v. Newport News Shipbuilding & Dry Dock Co., 514 U.S. 122, 136 (1995); see

also A. Scalia & B. Garner, Reading Law: The Interpretation of Legal Texts 94 (2012) (“[A]n

absent provision cannot be supplied by the courts.”).

                                          *       *       *

       In sum, § 265 does not authorize expulsions, because it regulates only transportation

entities, and even if the statute did apply to individuals, expulsion is not an authorized penalty.

   B. Plaintiffs’ Expulsion Also Violates The Specific Protections Established By Congress
      For Noncitizens Seeking Humanitarian Protections.

       Plaintiffs have statutory rights to seek protection from persecution and torture, as Congress

has long prescribed. The Title 42 Process unlawfully sidesteps these safeguards. Consequently,

as the Court in P.J.E.S. held, even assuming § 265 does permit the expulsion of some individuals,

it cannot override the subsequently enacted statutes providing special protection for those seeking

humanitarian relief, such as the asylum statutes. 2020 WL 6770508, at *12 (“[T]he language of

Section 265 contains no ‘clear intention’ to authorize the suspension of the relevant provisions of

Title 8.”). Accordingly, the application of Title 42 is unlawful as to the putative class not only

because (as explained in the previous section) it exceeds the authority granted by Congress, but

also—and independently—because it violates the immigration laws that protect the plaintiff class.

       First, the asylum statute, 8 U.S.C. § 1158, provides that “[a]ny alien who is physically

present in the United States or who arrives in the United States . . . irrespective of such alien’s

status, may apply for asylum.” 8 U.S.C. § 1158(a)(1). Second, the withholding of removal statute,


                                                 19
       Case 1:21-cv-00100-EGS Document 57-1 Filed 02/05/21 Page 28 of 38




8 U.S.C. § 1231(b)(3), provides that a noncitizen “may not” be removed to a country where their

“life or freedom” would be threatened based on a protected ground. Congress created specific and

narrow bars to asylum and withholding of removal, but none of them apply to the Plaintiffs. See

supra, Background Part A. Third, the CAT prohibits returning a noncitizen to a country where it

is more likely than not that she would face torture. There are no bars to eligibility for CAT

protection. See Negusie, 555 U.S. at 514. These forms of relief are generally adjudicated by an

immigration judge in full removal proceedings under 8 U.S.C. § 1229a. See 8 C.F.R. §§ 1208.2(b),

1208.16(a).

       Certain noncitizens may be placed in a summary “expedited removal” system (in lieu of

full removal proceedings). See 8 U.S.C. § 1225(b)(1). But even in those expedited proceedings,

Congress took pains to guarantee procedural protections for asylum seekers. Specifically, if a

noncitizen expresses fear of removal, they are entitled to a hearing with an asylum officer, subject

to review by an Immigration Judge, to determine whether they have a “credible fear” of persecution

or torture if removed. Id. §§ 1225(b)(1)(A)(ii), 1225(b)(1)(B). Once the noncitizen shows a

credible fear—a “low screening standard,” 42 Cong. Rec. 25,347 (1996)—they are entitled to a

full removal hearing with the attendant procedural protections, including the right to appeal, see

Grace v. Barr, 965 F.3d 883, 902 (D.C. Cir. 2020) (explaining that one of the “important” goals

of the expedited removal statute was “ensuring that individuals with valid asylum claims are not

returned to countries where they could face persecution”).

       In short, Congress carefully crafted the statutory provisions governing asylum,

withholding, and CAT protection to ensure that noncitizens within our country or at the border

could seek relief from persecution and torture. In so doing, Congress sought to satisfy its domestic

and international obligations to protect those fleeing persecution and torture.         See supra,



                                                20
         Case 1:21-cv-00100-EGS Document 57-1 Filed 02/05/21 Page 29 of 38




Background Part A. And, critically, Congress enshrined procedural access to these forms of

protection before a person can be deported from the country, seeking to ensure a meaningful

opportunity to present their claims.

         The Title 42 Process jettisons all those protections and safeguards, subjecting these families

to summary deportation back to potential persecution and torture, including, for some, possible

death.     Through their creation of an alternative immigration system, Defendants have

circumvented the carefully crafted scheme Congress set forth for consideration of claims for

humanitarian protections. 9

         Whatever Title 42 authorizes in general, it cannot override the provisions of the

immigration laws specifically designed to ensure that vulnerable people seeking protection would



9
  The only humanitarian protection provided under the Title 42 Process is limited to a CAT
screening. Because the screening is limited to CAT, and offers no opportunity for asylum and
withholding protection, it would not cure Title 42’s legal defect even if the screening were
adequate for CAT. But the screening is patently inadequate even for CAT protection: Noncitizens
are only referred for a CAT screening if they “make an affirmative, spontaneous and reasonably
believable claim that they fear being tortured in the country they are being sent back to.” CBP
Memo 4 (emphasis added). This means that families must know precisely what to say when they
arrive in the U.S., and may be summarily returned to the countries they fled without the
government ever even asking whether they would face torture, including death, in that country.
        Unsurprisingly, this screening offers essentially no protection. As of May 13, 2020, out of
thousands of expulsions under Title 42, Defendants reportedly conducted a mere 59 screening
interviews for CAT, of which only two applicants passed the screening stage. Nick Miroff, Under
Trump Border Rules, U.S. Has Granted Refuge to Just Two People Since Late March, Records
Show, Wash. Post (May 13, 2020), https://www.washingtonpost.com/immigration/border-refuge-
trump-records/2020/05/13/93ea9ed6-951c-11ea-8107-acde2f7a8d6e_story.html;                      Camilo
Montoya-Galvez, Only 2 Migrants Allowed to Seek Humanitarian Protection Under Trump’s
Coronavirus Border Order, CBS News (May 13, 2020), https://www.cbsnews.com/news/only-2-
migrants-allowed-to-seek-humanitarian-protection-under-trumps-coronavirus-border-order/. In
comparison, during FY 2019 74% of individuals passed their credible fear screening. USCIS,
Credible                Fear               Workload                  Report                 Summary,
https://www.uscis.gov/sites/default/files/document/data/Credible_Fear_Stats_FY19.pdf.
Lawyers for families subjected to Title 42 also report that they rarely, if ever, see noncitizens pass
these CAT assessments. See Hidalgo Decl., ¶ 7; see also Levy Decl., ¶¶ 7-8 (describing families
who sought to express fear, but were told by DHS officers that asylum was no longer available in
United States).

                                                  21
       Case 1:21-cv-00100-EGS Document 57-1 Filed 02/05/21 Page 30 of 38




have access to a meaningful and robust system to assess their claims—even where such individuals

are suspected of having a communicable disease. As with all potential conflicts, the Court must

read § 265 and the refugee protection statutes together, to make sense of all Congress’s work

without discarding any of it. See P.J.E.S., 2020 WL 6770508 at *30; see also FDA v. Brown &

Williamson Tobacco Corp., 529 U.S. 120, 143 (2000) (“The classic judicial task of reconciling

many laws enacted over time, and getting them to make sense in combination, necessarily assumes

that the implications of a statute may be altered by the implications of a later statute.”) (internal

quotation marks omitted). Even if § 265 could be read to authorize some summary deportations

(which it cannot), it must be read to accommodate Congress’s subsequent specific legislative

protections and commands. See Indep. Ins. Agents of Am., Inc. v. Hawke, 211 F.3d 638, 643 (D.C.

Cir. 2000) (“A broad statute when passed ‘may have a range of plausible meanings,’ but

subsequent acts can narrow those meanings ....”) (quoting Brown & Williamson, 529 U.S. at 143).

       Where an agency’s interpretation of one statute “tramples the work done” by another

statute—as Defendants’ sweeping view of § 265 tramples the immigration laws—the agency

“bears the heavy burden of showing a clearly expressed congressional intention that such a result

should follow.” Epic Sys. v. Lewis, 138 S. Ct. 1612, 1624, 27 (2018). Defendants can show no

such “clear and manifest” intention. Id. at 1624; P.J.E.S., 2020 WL 6770508 at *31.

       To the extent there is any conflict, the specific provisions addressing the procedure for

resolving humanitarian protection claims should be read to control over the general public health

authority under Title 42. See, e.g., Air All. Houston v. EPA, 906 F.3d 1049, 1061 (D.C. Cir. 2018)

(“[A]n agency may not circumvent specific statutory limits on its actions by relying on separate,

general rulemaking authority.”). The INA’s humanitarian protections are “precisely drawn,

detailed statute[s],” Brown v. GSA, 425 U.S. 820, 834 (1976), that “speak[] directly” to “the



                                                 22
       Case 1:21-cv-00100-EGS Document 57-1 Filed 02/05/21 Page 31 of 38




question before [the Court],” Epic Sys., 138 S. Ct. at 1631, namely what the government must do

before it seeks to remove an asylum seeker. By contrast, § 265 says nothing at all about removal;

or humanitarian protections; or steps the government must take or may skip.

       The general terms of § 265 thus cannot be construed to bypass the specific provisions of

the asylum, withholding of removal, and torture statutes. See P.J.E.S., 2020 WL 6770508 at *12

(“Since the Government concedes that ‘Section 265 is not designed to target immigration at all’ it

clearly cannot be the more specific statute.”) (citation omitted); see also Radzanower v. Touche

Ross & Co., 426 U.S. 148, 159 n.2 (1976) (“[T]he more specific legislation will usually take

precedence over the more general.”).

       This specific-over-general interpretive principle has particular force where the more

specific statute is the later-enacted one; that is the case here, as § 265 was originally enacted in

1893 and last amended in 1944. See United States v. Juvenile Male, 670 F.3d 999, 1008 (9th Cir.

2012) (explaining that “[w]here two statutes conflict, the later-enacted, more specific provision

generally governs”). Recent Congresses have spoken clearly and explicitly regarding the required

treatment of asylum seekers; the Executive is not at liberty to ignore those commands.

II.    SUBJECTING IMMIGRANT FAMILIES TO THE TITLE 42 PROCESS HAS
       CAUSED AND WILL CONTINUE TO CAUSE THEM IRREPARABLE HARM.

       This Court has now granted stays of removal for a number of families, whose experiences

are emblematic of the experiences of the families in the Proposed Class. Their sealed declarations

describe the danger they are fleeing, their experiences of persecution, and the harms they have

suffered in greater detail. See ECF Nos. 17, 24, 27; see also ECF Nos. 29, 43, 45 (motions for

leave to file class member declarations under seal). Many of these families include young

children—some as young as infants or toddlers—who would face particularly grave harm if

returned without the opportunity to seek humanitarian relief.


                                                23
       Case 1:21-cv-00100-EGS Document 57-1 Filed 02/05/21 Page 32 of 38




       To cite one example, Plaintiff Huisha-Huisha fled Ecuador due to threats that her children

would be kidnapped, and she fears that she and her daughter, Plaintiff I.M.C.H., will suffer

violence, torture, or death if expelled. In Ecuador, indigenous peoples are marginalized and

targeted for discrimination, exploitation, and trafficking. In 2019, “[t]raffickers often recruited

children from impoverished indigenous families [in Ecuador],” and indigenous “children were

exploited in forced labor and sex trafficking abroad.” U.S. Dep’t of State, 2019 Country Reports

on Human Rights Practices: Ecuador, https://www.state.gov/reports/2019-country-reports-on-

human-rights-practices/ecuador/.

       The Proposed Class Members come from other countries—such as El Salvador,

Guatemala, and Honduras—that are among the most dangerous in the world due to gang, gender,

family membership, and other identity-based violence.         See Declaration of Lisa Frydman

(“Frydman Decl.”), ¶¶ 4-16; Herre Decl., ¶¶ 8-10; Declaration of Taylor Levy (“Levy Decl.”), ¶

7. The U.S. Department of State has itself acknowledged that extreme violence is prevalent in

these countries, including homicide, torture, kidnapping, extortion, or other forms of persecution.

See, e.g., U.S. Dep’t of State, 2019 Country Reports on Human Rights Practices: Guatemala at

18,   28,   https://www.state.gov/wp-content/uploads/2020/02/GUATEMALA-2019-HUMAN-

RIGHTS-REPORT.pdf. 10

       Others are from countries like Haiti, where violence is widespread, political persecution is

common and often deadly, and women and girls lack legal protections. The U.S. State Department



10
   See also U.S. Dep’t of State, 2019 Country Reports on Human Rights Practices: Honduras at
1-2, https://www.state.gov/wp-content/uploads/2020/02/HONDURAS-2019-HUMAN-RIGHTS-
REPORT.pdf (describing extreme gang violence directed at vulnerable populations, including
“acts of homicide, torture, kidnapping, extortion, human trafficking, intimidation, and other
threats”); U.S. Dep’t of State, 2019 Country Reports on Human Rights Practices: El Salvador at
1,          https://www.state.gov/wp-content/uploads/2020/02/EL-SALVADOR-2019-HUMAN-
RIGHTS-REPORT.pdf (similar).

                                                24
       Case 1:21-cv-00100-EGS Document 57-1 Filed 02/05/21 Page 33 of 38




has issued its highest travel advisory for Haiti due to “crime, civil unrest, kidnapping, and COVID-

19”; it notes that violent crime is “common” and “[k]idnapping is widespread,” while

“[e]mergency response . . . is limited or non-existent.” U.S. Dep’t of State, Haiti Travel Advisory,

https://travel.state.gov/content/travel/en/traveladvisories/traveladvisories/haiti-travel-

advisory.html. The State Department also reports that Haitian police officers are credibly accused

of committing as many as 22 extrajudicial killings of anti-corruption and anti-government

protesters between September and November 2018 alone. See U.S. Dep’t of State, Haiti 2019

Human Rights Report at 2, https://www.state.gov/wp-content/uploads/2020/03/HAITI-2019-

HUMAN-RIGHTS-REPORT-REVISED-3.13.2020.pdf; see also id. (discussing government

officials implicated in supplying gang leaders with weapons and equipment used in an attack that

resulted in 71 deaths, 11 rapes; no officers were criminally charged or arrested for their roles). 11

       Under the Title 42 process, many families—particularly those from El Salvador,

Guatemala, and Honduras—are expelled to Mexico, where they are often victimized by criminal

cartels and gang members and face numerous barriers to finding safe places to shelter. See

Declaration of Linda Corchado, ¶ 8 (father kidnapped after expulsion to Mexico, leaving 8-year-

old child behind); Frydman Decl., ¶¶ 17-18; Levy Decl., ¶¶ 4-11. These facts more than satisfy the

preliminary injunction standard, which requires “only a likelihood of irreparable injury.” League

of Women Voters of U.S. v. Newby, 838 F.3d 1, 8-9 (D.C. Cir. 2016). Numerous courts, including

this Court in P.J.E.S., have held that similar showings suffice to show irreparable injury. See, e.g.,

P.J.E.S., 2020 WL 6770508, at *13 (“[T]he putative class members are being returned without any

opportunity to apply for asylum or withholding of removal. Once expelled from the United States



11
  See also, e.g., Will Carless, Brazil’s shocking violence against women, in five charts, The World
(Nov. 18, 2015), https://www.pri.org/stories/2015-11-18/brazils-shocking-violence-against-
women-five-charts.

                                                  25
          Case 1:21-cv-00100-EGS Document 57-1 Filed 02/05/21 Page 34 of 38




and outside the jurisdiction of the Court, it is not clear that a remedy can be provided.”) (citation

omitted); Grace v. Whitaker, 344 F. Supp. 3d 96, 146 (D.D.C. 2018), aff’d in part, rev’d in part

on other grounds sub nom., Grace v. Barr, 965 F.3d 883 (D.C. Cir. 2020) (finding fear of

“domestic violence, beatings, shootings, and death in their countries of origin” constitute

irreparable injury); Demjanjuk v. Holder, 563 F.3d 565, 565 (6th Cir. 2009) (granting stay for

noncitizen who asserted removal would violate CAT); Devitri v. Cronen, 289 F. Supp. 3d 287,

296–97 (D. Mass. 2018) (risk of persecution if removed is irreparable harm); Orantes-Hernandez

v. Meese, 685 F. Supp. 1488, 1504–05 (C.D. Cal. 1988) (plaintiffs would suffer irreparable harm

if they were summarily removed without being afforded opportunity to exercise their right to apply

for asylum); see also J.B.B.C., 2020 WL 6041870, at *2 (Judge Nichols finding that

unaccompanied child had shown “he is likely to suffer irreparable harm in the absence of an order”

staying his expulsion under Title 42).

III.      THE BALANCE OF HARMS AND THE PUBLIC INTEREST BOTH WEIGH
          DECIDEDLY IN FAVOR OF INJUNCTIVE RELIEF FOR CLASS MEMBERS.

          For several reasons, preventing Defendants from removing families until final disposition

of this case would not substantially injure the government and would be consistent with public

health.

          First, families who come to the border are can be processed quickly by Border Patrol agents

and released to sponsors in the interior, such as relatives or family friends. There, they can

quarantine as needed and will be subject to local health restrictions, much like the tens of thousands

of travelers, transport drivers, and others who the government permits to cross the U.S-Mexico

border every day. See Declaration of Public Health Experts (“Pub. Health Expert Decl.”), ¶ 26.

          Second, insofar as Defendants choose to detain families upon their apprehension at the

border, Defendants operate family detention facilities where the family can be housed together.


                                                  26
       Case 1:21-cv-00100-EGS Document 57-1 Filed 02/05/21 Page 35 of 38




See ECF No. 5-2, ¶ 2; Hidalgo Decl., ¶¶ 3-5; Herre Decl., ¶¶ 1, 11-13. Such families typically

undergo the credible fear process, where they are interviewed by an asylum officer to determine

whether they have bona fide claims for relief from persecution or torture. See generally Grace v.

Barr, 965 F.3d 883, 888 (D.C. Cir. 2020). Because most of the families have legitimate claims,

they pass these screening interviews and are processed for release into the interior. But while they

are in family detention centers, they are tested and quarantined, as has been the case for the families

for which the Court has granted stays. See Hidalgo Decl., ¶ 4; Herre Decl., ¶ 12; see, e.g., ECF

Nos. 27. Family detention facilities have separate rooms where families can quarantine without

spreading COVID-19 via air movement. See Herre Decl., ¶ 13. In addition, the family facilities

are currently operating at a very small fraction of their total capacity, with less than 10 percent of

their total beds filled. See January 19, 2021 ICE Juvenile Coordinator Report at 4, Cheung Decl.,

Ex. G; P.J.E.S., 2020 WL 6770508, at *35 (“The real issues are potential exposure to the virus at

congregation points and operational costs—as the government admits—of mitigating that risk

through effective quarantine and/or conditional release and monitoring of putative class members

who enter the country unlawfully.”).

       Third, contrary to the CDC Orders’ stated justifications, Defendants keep many families in

custody for weeks before expulsion. See Hidalgo Decl., ¶ 6; see, e.g., ECF Nos. 4-2, 29-7. During

this time, the families are tested for COVID-19, and many of them test negative before expulsion.

See, e.g., ECF Nos. 17, 27. Because families can be processed for regular immigration proceedings

in a similar timeframe, there is no discernible rationale for expelling such families, rather than

simply processing and releasing them. See Hidalgo Decl., ¶¶ 6, 8; Herre Decl., ¶ 17.

       Public health officials have overwhelmingly noted that Defendants can undertake

numerous safety measures to avoid the spread of COVID-19, including vaccinations and



                                                  27
       Case 1:21-cv-00100-EGS Document 57-1 Filed 02/05/21 Page 36 of 38




quarantines, and that summary expulsions are not necessary, particularly when facilities operate at

a reduced capacity to allow for distancing and family-specific rooms. See Public Health Experts

Decl., ¶ 28. 12 See also January 19, 2021 ICE Juvenile Coordinator Report at 4, Cheung Decl., Ex.

G (ICE family detention facilities are 91% empty); January 15, 2021 CBP Juvenile Coordinator

Report at 3 (634 average daily population in December 2020, in CBP facilities that could

accommodate max of 11,200 individuals), Cheung Decl., Ex. H. Placing families at facilities

where employees and occupants are vaccinated and maintaining social distance poses minimal, if

any, risk to the public. See Public Health Experts Decl., ¶ 28. 13

       ICE’s own statistics confirm that families can be safely processed under Title 8 during the

pandemic, even prior to vaccination of staff and families. As of January 8, 2021, no family held

at an ICE family detention facility has required hospitalization for COVID-19 since the start of the

pandemic. See January 19, 2021 ICE Juvenile Coordinator Report at 5, Cheung Decl., Ex. G.14

As Plaintiffs’ experts point out, these families can be safely released and bear no more risk of

spreading COVID-19 than the numerous other individuals already allowed to cross the Southwest

border. See Declaration of Public Health Experts, ¶¶ 23-24, 27.

       Notably, the CDC Orders do not conclude that families cannot be safely processed, but

note only that in the government’s view it is not worth the resources to try to safely process asylum


12
  Letter to HHS Secretary Azar and CDC Director Redfield Signed by Leaders of Public Health
Schools, Medical Schools, Hospitals, and Other U.S. Institutions, Columbia Mailman School of
Public Health (May 18, 2020), https://tinyurl.com/y8q3asun.
13
  According to Defendants, ICE personnel working at family facilities have been prioritized for
vaccinations. See January 19, 2021 ICE Juvenile Coordinator Report at 4-5, Cheung Decl., Ex. G.
Vaccinations are starting to be offered to families held at those facilities. Herre Decl., ¶ 14.
14
  While the January 19, 2021 ICE Juvenile Coordinator Report is ambiguous as to whether the
reported case count is cumulative over time, archived ICE statistics confirm that the 120 positive
cases in January reflect all positive cases detected since testing began in February 2020. See U.S.
Immigration and Customs Enforcement, COVID-19 ICE Detainee Statistics (updated Jan. 11,
2021), Cheung Decl., Ex. I.

                                                 28
       Case 1:21-cv-00100-EGS Document 57-1 Filed 02/05/21 Page 37 of 38




seekers. See, e.g., 85 Fed. Reg. at 17067 (speculating that brief detention of noncitizens in Border

Patrol stations would “divert [healthcare] resources away from the domestic population”).

Importantly, however, there is “a public interest in preventing aliens from being wrongfully

removed . . . to countries where they are likely to face substantial harm.” Nken v. Holder, 556 U.S.

418, 436 (2009).

       Finally, the D.C. Circuit’s stay of the preliminary injunction in P.J.E.S. does not undermine

Plaintiffs’ argument. See Order, P.J.E.S. v. Pekoske, No. 20-5357 (D.C. Cir. Jan. 29, 2021), Doc.

No. 1882899. The D.C. Circuit in P.J.E.S. did not explain how it analyzed or weighed the merits

or any other stay factors, see Nken, 556 U.S. at 434, and notably the government emphasized in its

stay filings matters that have no bearing on this case or motion, including the capacity of the Office

of Refugee Resettlement to house unaccompanied children. See P.J.E.S., No. 20-5357, Doc. No.

1874324 at 19-20; Doc. No. 1876197 at 10-11. Because, as this Court previously noted, “the D.C.

Circuit’s order is not published and was issued without opinion or reasoning,” Minute Order dated

Feb. 1, 2021, it should have no bearing on this motion, see D.C. Cir. Rule 36(e)(2) (“[A] panel’s

decision to issue an unpublished disposition means that the panel sees no precedential value in that

disposition.”).

                                          CONCLUSION

       For these reasons, the Court should issue a classwide preliminary injunction prohibiting

Defendants from applying the Title 42 Process to the Class. 15




15
   As it did in P.J.E.S., the Court should waive the requirement of an injunction bond, as Plaintiffs
are asylum seekers without the ability to post a bond, and this suit seeks to "vindicate important
rights under the immigration laws." 2020 WL 6770508, at *16. The Court should also certify the
class, for the reasons given in Plaintiffs’ pending motion for class certification, ECF No. 23.

                                                 29
      Case 1:21-cv-00100-EGS Document 57-1 Filed 02/05/21 Page 38 of 38




Dated: February 5, 2021                        Respectfully submitted,

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